             Case 3:20-cv-01816   Document 16    Filed 10/21/20    Page 1 of 4




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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION
NORTHWEST CENTER FOR                                              No. 3:20-cv-01816
ALTERNATIVES TO PESTICIDES,
WILLAMETTE RIVERKEEPER,                          STANDING DECLARATION OF
CASCADIA WILDLANDS, NEIGHBORS                    LISA LEITHAUSER,
FOR CLEAN AIR, AND 350PDX,                       NEIGHBORS FOR CLEAN AIR
                                   Plaintiffs,   MEMBER
       vs.
U.S. DEPARTMENT OF HOMELAND
SECURITY; CHAD WOLF, in his capacity
as Acting Secretary, U.S. Department of
Homeland Security,
                                 Defendants.

Page 1 - STANDING DECLARATION OF LISA LEITHAUSER, NEIGHBORS FOR
         CLEAN AIR MEMBER
             Case 3:20-cv-01816       Document 16       Filed 10/21/20      Page 2 of 4




I, Lisa Leithauser, declare and state as follows:
        1.     I am over the age of 18. I make this declaration based on my own personal
knowledge, and if called as a witness, I could and would competently testify to the facts herein
under oath. As to matters which may reflect a matter of opinion, they reflect my personal
opinion and judgment based on my personal experience.
        2.     I have been a member and supporter of Neighbors for Clean Air since 2013 and
have regularly received newsletter updates from the organization. I reside in the Portland
Metropolitan area in Washington County, Oregon.
        3.     I submit this declaration in support of Neighbors for Clean Air’s participation in
NEPA litigation against the federal government, for the agency’s use of chemical weapons
against protesters in Portland without properly identifying and analyzing human health and
environmental impacts of these chemicals.
        4.     Neighbors for Clean Air advocates for better air quality in Oregon with an
emphasis on public health, and empowers Oregonians with information and tools to ensure
everyone breathes clean air. Neighbors for Clean Air’s mission and work is very important to me
because I gave birth to, and raised 4 children in Portland - their health and well-being is my
priority, and clean air and industry regulation to ensure clean air, is a basic human right.
        5.     I often visit downtown Portland, and I have participated in protests, rallies, and
other forms of political protest in Portland and in my own neighborhood in Washington County
this year.
        6.     Throughout the summer, in the wake of George Floyd’s death, I participated in
6-8 protests supporting Black Lives Matter.
        7.     On July 21, I went to the evening protest in front of the Multnomah County
Justice Center to support the Black Lives Matter movement.
        8.     I was standing in the peaceful crowd listening to the speakers. I was there to
peacefully support Black Lives Matter, and I made sure to avoid the Federal Courthouse where
protesters were in direct confrontation with federal officers. Suddenly federal officers came up
SW Madison Street and stood blocking me and other members of the public. In order to leave,

Page 2 - STANDING DECLARATION OF LISA LEITHAUSER, NEIGHBORS FOR
         CLEAN AIR MEMBER
             Case 3:20-cv-01816        Document 16        Filed 10/21/20     Page 3 of 4




we would have had to exit back towards the Federal Courthouse, or walk the gauntlet of officers
strung out along Madison. There were approximately 100 people present in that general area.
       9.      The federal officers threw canisters of gas at two women standing on the corner,
in very close proximity to the crowd. There was absolutely no warning or indication that gas was
incoming. I then realized that gas was also being carried by the wind towards me from canisters
that had been fired at protesters in front of the Federal Courthouse, one block away. My eyes and
throat immediately began to burn, and at first I had no idea what was happening to me. I was
wearing a thin mask for COVID, but no other protective gear. Eventually I figured out I had
been tear gassed and left to deal with the impacts.
       10.     I have no history of asthma or other respiratory issues and I was scared about how
hard it was to breathe at the site of the protest once the gas plumes hit me, and for several hours
afterwards. I took a shower and drank a lot of water, but nothing seemed to help.
       11.     I did some research on the internet and figured out my sudden onset of breathing
difficulties must be from the gas, but was left with more questions than answers. It seems from
the literature I found that there are several types of gas that can be used on crowds, and I had no
idea what had been used on me by the federal officers. This left me feeling very anxious in
addition to my physical symptoms. I finally was able to sleep around 1 am, which is unusual for
me. Respiratory symptoms continued for me all day on July 22 and into July 23, finally
subsiding that evening.
       12.     On July 24, I went back to the protests to support Black Lives Matter at the
Multnomah County Justice Center. At first I was standing with the wall of Moms, but when they
moved to the Federal Courthouse I stayed at the Justice Center to avoid the more contentious
area, and to try to avoid potential tear gas and chemical exposure. From a block away, I could
see lots of gas being used against protesters at the Courthouse. Because of the proximity and the
wind, gas started to affect me and other protesters at the Justice Center as well. I tried to tell
people it was coming and to move, but because we were peacefully listening to the speakers no
one moved. When the gas hit us, everyone was coughing and panicking. I left fairly quickly after
that. I would have liked to stay longer to listen to the speakers but, because of my earlier

Page 3 - STANDING DECLARATION OF LISA LEITHAUSER, NEIGHBORS FOR
         CLEAN AIR MEMBER
             Case 3:20-cv-01816       Document 16       Filed 10/21/20     Page 4 of 4




experience, I made the choice to leave when the gas began to affect my eyes and respiratory
system again.
       13.      On July 26, I went to the evening protest again to listen to speakers and support
Black Lives Matter. Around nine o’clock, speakers acknowledged that tear gas was likely to be
used on us again and stopped the program to avoid peaceful protesters being harmed. I left
feeling anxious and frustrated that I was being prevented from exercising my first amendment
rights, and that there were these unknown chemicals still being used on us.
       14.      I believe that the lack of information and analysis by the federal government
about the repeated use of tear gas and other aerosols created conditions in which numerous
adverse health impacts, including my own, were able to occur.
       15.      If the federal government completes a NEPA analysis of the use of tear gas and
other crowd control weapons on human health and the environment, I believe they may make
better, more informed choices about their use of such weapons. I believe they may have decided
and may not decide in the future to deploy these gases and in such quantities that myself and my
friends and loved ones have experienced.
       16.      I have definite plans to continue to exercise my first amendment rights and
engage in protests for social justice in Portland.
       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.
       Executed this 15th day of October, 2020.




                                                               Lisa Leithauser




Page 4 - STANDING DECLARATION OF LISA LEITHAUSER, NEIGHBORS FOR
         CLEAN AIR MEMBER
